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             United States Court of Appeals
                     FOR THE DISTRICT OF COLUMBIA CIRCUIT



                              Issued March 10, 2023

                                   No. 22-1097

                     ALI HAMZA AHMAD SULIMAN AL BAHLUL,
                                 PETITIONER

                                         v.

                           UNITED STATES OF AMERICA,
                                  RESPONDENT



                            Consolidated with 22-1173


                              On Motion to Disqualify


                 KATSAS, Circuit Judge: The Department of Defense has
            detained Ali Hamza Ahmad Suliman al Bahlul at Guantanamo
            Bay, Cuba for over two decades. In 2008, a military
            commission convicted Bahlul of conspiracy to commit various
            war crimes. He now seeks judicial review of his ensuing life
            sentence. Bahlul has moved to disqualify me based on my
            involvement in other Guantanamo Bay detainee litigation
            while serving in the Department of Justice between 2001 and
            2009. Bahlul cites my appearance as government counsel in a
            habeas action brought by him and other Guantanamo detainees,
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            my supervisory responsibilities at DOJ, and the recusal
            decisions of other senior DOJ officials with whom I served.

                 Section 455 of Title 28 establishes disqualification
            standards for federal judges. Section 455(b) lists five specific
            circumstances requiring disqualification. One applies if the
            judge, in former government employment, “participated as
            counsel, adviser or material witness concerning the proceeding
            or expressed an opinion concerning the merits of the particular
            case in controversy.” 28 U.S.C. § 455(b)(3). Another applies
            if the judge has “personal knowledge of disputed evidentiary
            facts concerning the proceeding.” Id. § 455(b)(1). In addition,
            section 455(a) requires disqualification in any proceeding
            where the judge’s “impartiality might reasonably be
            questioned.” Id. § 455(a). The statute defines “proceeding” to
            include “pretrial, trial, appellate review, or other stages of
            litigation.” Id. § 455(d)(1). The Code of Conduct for United
            States Judges imposes the same requirements. Canon 3C(1),
            3C(1)(a), 3C(1)(e).

                 Bahlul cites these provisions, and a handful of cases
            applying them, for the general proposition that a judge “may
            not hear a case in which he previously played any role.” Cobell
            v. Norton, 334 F.3d 1128, 1144 (D.C. Cir. 2003). These
            decisions further indicate that a judge may not hear a case
            raising a collateral attack on another case where the judge
            played any role. See Williams v. Pennsylvania, 579 U.S. 1, 10–
            11 (2016); Clemmons v. Wolfe, 377 F.3d 322, 326 (3d Cir.
            2004); Rice v. McKenzie, 581 F.2d 1114, 1117 (4th Cir. 1978).
            They also indicate that a judge who previously headed a DOJ
            litigating component—such as a former United States
            Attorney—may not hear any case over which the judge had
            supervisory responsibility, regardless of whether he was
            personally involved in it. See United States v. Herrera-Valdez,
            826 F.3d 912, 919 (7th Cir. 2016); United States v. Amerine,
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            411 F.2d 1130, 1133 (6th Cir. 1969). Of course, I have no
            quarrel with any of these settled principles. And that is why I
            have recused myself from all Guantanamo detainee litigation
            that I was personally involved in during my tenure at DOJ, as
            well as from all Guantanamo detainee litigation handled by the
            Civil Division while I supervised it, either as Principal Deputy
            Associate Attorney General (from 2006 to 2008) or as
            Assistant Attorney General (from 2008 to 2009).

                 In this proceeding, Bahlul seeks review of a life sentence
            imposed after his conviction by a military commission
            convened under the Military Commissions Act of 2006, Pub.
            L. No. 109-366, 120 Stat. 2600. The Department of Defense
            handled Bahlul’s prosecution, not the Civil Division or any
            other DOJ component. And while DOJ has defended Bahlul’s
            conviction and sentence before this Court, that task falls with
            the National Security Division, in which I never served and
            over which I never had supervisory authority. Also, Bahlul did
            not file his first petition for review in this Court until
            September 2011—more than 2.5 years after I left DOJ. In sum,
            during my time at DOJ, I never appeared as counsel in either
            Bahlul’s underlying prosecution or the ensuing proceedings for
            judicial review. I never supervised either the prosecution or the
            review proceedings. I never expressed an opinion on the merits
            of the prosecution or the review proceedings. And I gained no
            knowledge of disputed evidentiary facts regarding the
            prosecution or the review proceedings.

                 Bahlul contends that disqualification is warranted because
            I appeared as government counsel in Al Jayfi v. Bush, a habeas
            action filed on behalf of Bahlul and five other Guantanamo
            detainees. But this proceeding is not that one, and it involves
            no direct, collateral, or any other review of that case. Jayfi
            challenged the preventive detention of aliens held as enemy
            combatants at Guantanamo Bay. See Petition for Writs of
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            Habeas Corpus, Al Jayfi v. Bush, No. 05-cv-2104 (D.D.C. Oct.
            27, 2005), ECF No. 1. This case, in contrast, involves
            detention imposed as punishment for a criminal conviction.
            Jayfi also challenged the lawfulness of military commissions
            convened under a 2001 presidential order. See Detention,
            Treatment, and Trial of Certain Non-Citizens in the War
            Against Terrorism, 66 Fed. Reg. 57,833 (Nov. 13, 2001);
            Supplemental Petition of Ali Hamza Ahmad Suliman Bahlool
            for Writ of Habeas Corpus and Complaint for Injunctive,
            Declaratory and Other Relief, Al Jayfi v. Bush, No. 05-cv-2104
            (D.D.C. Dec. 14, 2005), ECF No. 12. At the time, Bahlul was
            being prosecuted before such a commission, but it was
            disbanded after the Supreme Court’s decision in Hamdan v.
            Rumsfeld, 548 U.S. 557 (2006). In contrast, this case involves
            a conviction by a tribunal convened under the Military
            Commissions Act of 2006, which restructured the commissions
            after Hamdan. Jayfi produced one interlocutory appeal while
            I had supervisory authority over the Civil Division, Al Jayfi v.
            Obama, No. 08-5306. It involved the question whether the
            government must provide advance notice before transferring a
            detainee out of Guantanamo Bay, an issue resolved favorably
            to the government in Kiyemba v. Obama, 561 F.3d 509 (D.C.
            Cir. 2009). This case bears no relationship to that question.
            Finally, Jayfi presented no occasion for me—or any other DOJ
            lawyer—to learn of facts relevant to Bahlul’s prosecution.
            Like the other Guantanamo habeas cases, Jayfi was stayed
            pending resolution of the threshold question whether habeas
            corpus jurisdiction extends to aliens held as enemy combatants
            at Guantanamo Bay. See Al Jayfi v. Bush, No. 05-cv-2104
            (D.D.C. Jan. 11, 2006), ECF No. 23. Shortly after Boumediene
            v. Bush, 553 U.S. 723 (2008), held that habeas jurisdiction does
            extend to the Guantanamo detainees, Bahlul withdrew from the
            Jayfi litigation—before the government had occasion to file a
            factual return seeking to justify his detention. See Al Jayfi v.
            Bush, No. 05-cv-2104 (D.D.C. Oct. 24, 2008), ECF No. 84. So,
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            I did not learn any facts bearing on Bahlul’s prosecution or on
            this Court’s review of his conviction and sentence.

                 Bahlul urges me to disqualify myself because Justice
            Gorsuch and Chief Judge Srinivasan, who served with me at
            DOJ, disqualified themselves in earlier iterations of this case.
            But each of us had different work portfolios at the Department.
            Chief Judge Srinivasan served as Principal Deputy Solicitor
            General in early 2013, when the Solicitor General authorized
            the National Security Division to seek en banc at an earlier
            stage of this proceeding. See Petition of the U.S. for Rehearing
            En Banc, Al Bahlul v. United States, No. 11-1324 (March 5,
            2013). And Justice Gorsuch, while serving as Principal Deputy
            Associate Attorney General, reportedly was involved in work
            on the Detainee Treatment Act of 2005, Pub. L. No. 109-148,
            119 Stat. 2739. See Savage, Newly Public Emails Hint at
            Gorsuch’s View of Presidential Power, N.Y. Times (Mar. 18,
            2017). Such work may have involved assessing factual claims
            that the Guantanamo detainees were mistreated, for section
            1002(a) of the Act significantly restricted the interrogation
            methods that the Department of Defense could lawfully
            employ. See 119 Stat. at 2739. In making these points, I do
            not mean to endorse or reject the disqualification decisions
            made by Justice Gorsuch and Chief Judge Srinivasan, which I
            have neither the knowledge nor the authority to do. Instead, I
            simply point out that each of us faced different considerations
            given the work each of us had done at DOJ, so their decisions
            do not control mine.

                 Bahlul does not press a distinct argument under section
            455(a), but I will address that provision for the sake of
            completeness. Section 455(b)(3) specifically addresses when
            a judge must recuse based on past government service, and it
            “draw[s] the recusal line … at participation in the proceeding
            or expression of an opinion concerning the merits of the
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            particular case in controversy.” Baker & Hostetler LLP v.
            Dep’t of Commerce, 471 F.3d 1355, 1357 (D.C. Cir. 2006)
            (opinion of Kavanaugh, J.). Likewise, section 455(b)(1) draws
            a specific recusal line at knowledge of disputed evidentiary
            facts concerning the proceeding. Section 455(a) is a more
            general “catch-all” provision, so we should not lightly use it to
            shift the lines specifically drawn in section 455(b). See id. at
            1357–58. At most, that should occur only in “rare and
            extraordinary circumstances,” id. at 1358, which are not
            present here. In short, my work at DOJ does not disqualify me
            under the specific rules set forth in section 455(b), and no other
            consideration tips the balance in favor of disqualification under
            section 455(a).

                For these reasons, the motion to disqualify is denied.

                                                                 So ordered.
